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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JOHN JOHNSON                                           §   CIVIL ACTION NO.
                                                       §
               Plaintiff,                              §
                                                       §   DISTRICT JUDGE
VS.                                                    §
                                                       §
NOBLE DRILLING (US), LLC,                              §   MAGISTRATE
ET AL.                                                 §
                                                       §
               Defendants.                             §


                                    NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1333, 1441, 1446 and 43 U.S.C. § 1349, Defendants, Shell

Oil Company and Shell Offshore Inc. (hereafter collectively referred to as “the Shell entities”),

hereby give notice and remove this case to the United States District Court for the Southern District

of Texas. The Shell entities represent the following in accordance with the requirement of 28

U.S.C. § 1446(a) for a “short and plain statement of the grounds for removal”:

                               A.     TEXAS STATE COURT ACTION

                                                  1.

        The Shell entities are defendants in the matter styled “John Johnson vs. Noble Drilling

(U.S.) LLC et. al.,” pending in the 269th Judicial District Court of Harris County, State of Texas

and bearing Case No. 2022-48884 (“State Court Action”).

                                                  2.

        Plaintiff, John Johnson, filed his Original Petition in the State Court Action on August 10,

2022.
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                                                    3.

        The Shell entities were served with the Original Petition on September 1, 2022. 1

                                                    4.

        Also made defendants in the State Court action are Noble Drilling (U.S.) LLC, Noble

Drilling Services Inc., Noble Corporation, and Noble Drilling Holding, LLC.

                                     B.      REMOVAL IS TIMELY

                                                    5.

        This Notice of Removal is timely filed, as it is being filed within thirty days after receipt

of the initial pleading setting forth the claims for relief and within thirty days of service of process

as required by 28 U.S.C. § 1446(b).

                             C.      VENUE IS PROPER IN THIS COURT

                                                    6.

        Venue is proper in this Court pursuant to 28 U.S.C. § 1446(a), as the United States District

Court for the Southern District of Texas is the District in which the State Court Action was

pending.

                                     D.      BASIS FOR REMOVAL

                                                    7.

        Pursuant to 43 U.S.C. § 1349, this Court has original jurisdiction over this matter because

it arises out of or in connection with an operation conducted on the Outer Continental Shelf that

involved exploration, development, or production of the minerals of the Outer Continental Shelf.

Further, pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over this matter because




1
        See Service of Process of the Original Petition for Shell Oil Company and Shell Offshore Inc.
        attached hereto as Exhibit A.


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it arises under the laws of the United States, namely the Outer Continental Shelf Lands Act,

(“OSCLA”), 43 U.S.C. § 1331, et seq.

                                                  8.

       OCSLA provides, in relevant part, that “district courts of the United States shall have

jurisdiction of cases and controversies arising out of, or in connection with (A) any operation

conducted on the outer Continental Shelf which involves exploration, development, or production

of the minerals, of the subsoil and seabed of the outer Continental Shelf, or which involves rights

to such minerals.” 43 U.S.C. § 1349(b)(1) (emphasis added).

                                                  9.

       Plaintiff alleges that on or about August 29, 2021, he was working in the Gulf of Mexico

aboard the drillship Globetrotter II when his injuries occurred while the Globetrotter II was

attempting to evade Hurricane Ida.2

                                                  10.

       At all material times, the Globetrotter II was a drillship performing completion operations

on the Princess P-12 well in Mississippi Canyon Block 809, lease number G05868. The Princess

P-12 well is located on the Outer Continental Shelf in the Gulf of Mexico approximately 140 miles

south/southeast of New Orleans, Louisiana. During these operations, the Globetrotter II was

attached to the seafloor wellhead by a series of risers, a lower marine riser package, and a blowout

preventer. The Globetrotter II ultimately unlatched from the wellhead and the blowout preventer

on August 27, 2021 solely for the purpose of avoiding Hurricane Ida. But for the exploration and

development of minerals on the Outer Continental Shelf, the plaintiff’s alleged injuries would not

have occurred.


2
       See Exhibit B, pp. 10-12 at ¶¶ 12-15.


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                                                    11.

          Accordingly, the events subject of the State Court Action constitute a matter “arising out

of” and “in connection with” operations on the Outer Continental Shelf, and, thus, this Court has

original subject matter jurisdiction under 43 U.S.C. § 1349 and/or 28 U.S.C. § 1331.

                                                    12.

          Alternatively, this Court also has original subject matter jurisdiction under 28 U.S.C.

§ 1333.

                                                    13.

          This matter is therefore removable under 28 U.S.C. § 1441, in that it is a civil action over

which the United States District Court for the Southern District of Texas has original subject matter

jurisdiction under 43 U.S.C. § 1349 (OCSLA), 28 U.S.C. § 1331 (federal question), and/or 28

U.S.C. § 1333 (admiralty).

                                                    14.

          The Shell entities hereby remove this action to the United States District Court for the

Southern District of Texas.

                                        E.      OTHER MATTERS

                                                    15.

          Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served on the

Shell entities are attached as Exhibit B.

                                                    16.

          The written consent to this removal on behalf of the other served defendants, Noble Drilling

(U.S.) LLC, Noble Drilling Services, Inc., Noble Corporation, and Noble Drilling Holding, LLC.

is attached as Exhibit C.




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                                                 17.

       The allegations of this Notice were true at the time the State Court Action was commenced

and remain true as of the date of filing of this Notice of Removal.

                                                 18.

       Undersigned counsel certifies that a notice of filing of removal, along with a copy of this

Notice of Removal, will be promptly filed with the 269 th Judicial District Court of Harris County,

Texas and served on plaintiff’s counsel.

       WHEREFORE, Shell Oil Company and Shell Offshore Inc. hereby remove this action to

the United States District Court for the Southern District of Texas.


                                                       Respectfully submitted,

                                                       LISKOW & LEWIS

                                                       /s/ Michael A. Golemi
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                                                       ATTORNEY FOR SHELL OIL
                                                       COMPANY AND SHELL OFFSHORE
                                                       INC.




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 9, 2022, a copy of the foregoing pleading was

(1) filed electronically with the Clerk of Court using the CM/ECF system with notice being sent

to all counsel of record registered to receive electronic service by operation of the court’s electronic

filing system, and (2) sent by United States mail, postage prepaid, to counsel for the plaintiff and

the Clerk of Court for the 269th Judicial District Court of Harris County.


                                                        /s/ Michael A. Golemi
                                                        Michael A. Golemi




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